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beit t’shuvah

Sergi: Rizzo-Fontanesi. Ph.D.
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Our Mission

Beit |-Shuvah’s mssion

is to heal broken sauls and
save the lives of these
wresthng with addiction by
pros iding integrated vare in
a conmmunity setting. We
believe evervone has the
right to redemption, which

is Why we never turn a single
soul away due to their inability
to pay.

5 September 2023

Mr. Joshua Voress, 73279-112
FCC Yazoo City

P.O. Box 5000

Yazoo City, MS 39194

Dear Josh,

lam so sorry for the delay in responding to your application. We approved you even
before | received the application back from you, and then | forgot to let you know. Not
to make excuses, but | am training someone new in the alternative sentencing office,
and | had asked her to type up your application, which kind of messed up my system of
organizing who | owe letters to. When your mom called, i was mortified to see | had
forgotten to write you back. At any rate, | hope the positive news makes up for my
error.

Please make sure you continue to stay in touch, and keep me apprised to any changes
on your release date. | know that you said that you expect to be out in 2024, but right
now the BOP system still says your projected release is May of 2026. | also expect that
you will be expected to do six months in a federally contracted halfway house before
coming to us, correct?

I’m going to keep this brief, so | can get it off to you. | am guessing your mom already
told you the news but, just in case...

Hope to hear back soon.

et IN

Carrie Newman
Alternative Sentencing Coordinator

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